 Case 3:19-cv-02043-AGS-DDL          Document 274           Filed 02/18/25   PageID.275486   Page
                                            1 of 2


 1                              UNITED STATES DISTRICT COURT
 2                           SOUTHERN DISTRICT OF CALIFORNIA
 3   Pamela STEWART, et al., individually                   Case No.: 19-cv-2043-AGS-DDL
     and on behalf of all similarly situated
 4
     employees of Defendants in the State of                ORDER DENYING PLAINTIFF’S
 5   California,                                            MOTION FOR PRELIMINARY
                                          Plaintiffs,       APPROVAL OF SETTLEMENT
 6
                                                            AGREEMENT (ECF 272)
 7   v.
 8   QUEST DIAGNOSTICS CLINICAL
     LABORATORIES, INC., et al.,
 9
                                       Defendants.
10
11          Plaintiff Pamela Stewart seeks preliminary approval of a settlement agreement
12   regarding her class-action lawsuit and Private Attorney General Act representative action.
13   (ECF 272, at 7.) Before the Court may approve a class-action settlement, it must “certify
14   the class for purposes of judgment on the proposal.” Fed. R. Civ. P. 23(e)(1)(B)(ii). To do
15   so, it must ascertain the class in question. Here, the Court is left guessing as to whether the
16   proposed agreement seeks approval for the previously certified class or one of two new
17   class definitions that plaintiff offers.
18          Stewart acknowledges that this Court previously certified the following class: “All
19   of Defendant’s non-exempt California Patient Service Representatives who were not
20   compensated with one hour of pay for all instances where they did not receive a duty-free
21   and uninterrupted 10-minute rest period consistent with California law, any time between
22   September 13, 2015, and the date of judgment.” (ECF 272, at 10.) She refers to this class
23   in her: (1) motion’s “procedural summary”; (2) attorney’s declaration; (3) settlement
24   agreement; (4) proposed settlement notice; and (5) argument that this “class has previously
25   been certified” and thus that “there is no need to re-establish class certification or request
26   provisional certification.” (Id. at 10, 20; ECF 272-2, at 9, 31, 56.)
27          But elsewhere Stewart defines the class as “All current and former non-exempt
28   Patient Service Representatives of Defendant during the Class Settlement Period.”

                                                        1
                                                                                     19-cv-2043-AGS-DDL
 Case 3:19-cv-02043-AGS-DDL         Document 274       Filed 02/18/25   PageID.275487    Page
                                           2 of 2


 1   (ECF 272, at 7.) She references this class in both the motion’s introduction and the
 2   settlement agreement. (Id.; ECF 272-2, at 30.)
 3          Finally, Stewart defines a third class in her proposed second amended complaint,
 4   which accompanies her settlement papers: “All current and former non-exempt Patient
 5   Service Representatives of Defendant who were employed at any time in the State of
 6   California from 4 years from the date of filing this Complaint through the present.”
 7   (ECF 272-2, at 94, 131.)
 8          The differences between these three definitions are significant. For example, some
 9   of the proposed classes include only California workers. (ECF 272, at 10, 94.) Another
10   includes no geographical limitation to California. (Id. at 7.) And the more recent definitions
11   include “[a]ll” non-exempt patient service representatives, while the initially certified
12   version included only those “who were not compensated with one hour of pay for all
13   instances where they did not receive a duty-free and uninterrupted 10-minute rest period.”
14   (See id. at 7, 10.)
15          Although there is a “strong judicial policy that favors settlements, particularly where
16   complex class action litigation is concerned,” Class Plaintiffs v. City of Seattle, 955 F.2d
17   1268, 1276 (9th Cir. 1992), the Court cannot proceed without a clear class identification,
18   Fed. R. Civ. P. 23(e)(1)(B)(ii). Until then, it cannot determine whether to rely upon its
19   previous certification or engage in a “settlement-only class certification” analysis. See
20   Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 620 (1997).
21          The motion for preliminary approval of the settlement agreement is thus DENIED
22   without prejudice. If the parties so choose, they may correct the deficiencies identified in
23   this order and submit an amended request no later than April 1, 2025.
24   Dated: February 18, 2025
25
                                                ___________________________
26                                              Hon. Andrew G. Schopler
                                                United States District Judge
27
28

                                                   2
                                                                                 19-cv-2043-AGS-DDL
